    Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 1 of 17 PageID #:999




                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  EILEEN LYNCH, ERIN RUBIO, and                        )
  ANEESA SALEH,                                        )
                                                       )
          Plaintiffs,                                  )    Case No. 2021-cv-00366
                                                       )
                         v.                            )    Judge Sara L. Ellis
                                                       )
  BOARD OF TRUSTEES OF                                 )    Magistrate Judge Sheila M. Finnegan
  COMMUNITY COLLEGE DISTRICT                           )
  NO. 508 d/b/a CITY COLLEGES OF                       )
  CHICAGO,                                             )
                                                       )
          Defendant.                                   )


            THIRD JOINT MOTION TO RESOLVE DISCOVERY DISPUTES

         Plaintiffs, through their counsel, and Defendant, through its counsel, and pursuant to

Federal Rules of Civil Procedure 26, 34, and 37, jointly move this Honorable Court for an order

resolving discovery disputes relating to Entry Nos. 95-98, 105, 107-110, 116, 123, and 183 of

Defendant’s Second Amended Privilege Log, and in support of which state the following.

         While Defendant provided its portion to Plaintiffs, it did not reply in a timely fashion to

Plaintiffs’ request to affix its signature. As such, Defendant’s portions are included, but the motion is

unsigned by Defendant.

   BACKGROUND RELEVANT TO THE DISCOVERY DISPUTE AND COMPLIANCE WITH LR 37.2

Plaintiffs’ Position: Defendant Attempted to Conceal H ighly Relevant Evidence and
Continues to Withhold Personnel Communications under Claims of Privilege

        On January 31, 2023, this Court ordered Defendant to complete its production of all written

discovery, including ESI, by March 31, 2023, and to provide an affidavit of completeness regarding

the same. [See Docket No. 79, p. 10] Although Defendant filed a Notice of Compliance, asserting it


                                                   1
   Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 2 of 17 PageID #:1000



had complied with the Court’s order, Defendant qualified this assertion by confirming it had

“produced all non-protected, non-privileged ESI that is responsive to Plaintiffs’ discovery requests.”

[See Docket No. 82, p. 3] Concerned, Plaintiffs’ counsel contacted Defendant’s counsel to request an

updated privilege log and to ask that Defendant provide more information as to the unspecified other

“protection” to which it referred. [Ex. A, April 4 Email] In response, Defendant stated it was still

working on a log but that it had finished producing all ESI. [Ex. B, April 5 Email]

        Two weeks later, within days of Plaintiff Saleh’s scheduled deposition, Defendant produced

another 2,000 pages of ESI. Among these pages – produced belatedly and more than 2 years into the

litigation – were highly relevant emails that are, frankly, devastating to Defendant’s core defense to

this action, laying bare the blatant pretext in firing Plaintiffs. Specifically, Defendant claimed that

Plaintiffs were terminated from their positions of Dean and Associate Deans of Student Services at

Daley College as part of a restructuring of the department, from a Department of Student Services to

a Department of Student Development. While this asserted restructuring, which coincidentally only

affected the three whistleblowers, may not have passed the smell test at any rate, the e-mails Defendant

withheld for years and only produced after the Court’s deadline, hereinafter referred to as the “Labor

Relations e-mails”, reveal that City Colleges was aware all along that there was no basis to fire the

Plaintiffs and that the restructuring was merely a third attempt for a justification to get rid of them on

the heels of their whistleblowing.

        The emails reveal that on the heels of Plaintiffs having reported the significant misconduct of

Roberto Torres, the Dean of Instruction, to the Office of Inspector General (“OIG”) in October

2019, President of Daley College, Janine Janosky, and Vice-President, Anne Panomitros, began

immediately scheming for how to fire the whistleblowers for alleged performance based reasons, but

they were admonished by several individuals within the District Labor Relations Office that they did

not have justification for termination, and, importantly, that the lack of justification raised a concern


                                                    2
      Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 3 of 17 PageID #:1001



about retaliation.

         For example, after Dr. Janosky sent a document to the Deputy Chief Talent Officer, Eugene

Nichols, seeking to terminate Plaintiff Eileen Lynch for performance-based reasons (on the heels of

her whistleblowing), and listing purported justifications, the Executive Director of EEO and Labor &

Employee Relations, Aaron Allen, firmly rejected the request to terminate and expressed concerns

over retaliation, stating, inter alia:




...




[Ex. C, CCC_0051138-39] Mr. Nichols echoed these same concerns, saying “I totally agree. The

points you raise were also my concerns,” and he then relayed the concerns to Dr. Janosky. [Ex. D,

CCC_51177; Ex. E, CCC_51232-33] The Director of EEO, Labor & Employee Relations, Diandra

Ritchie also weighed in via an email to Defendant’s EEO Officer, Micki Yolich, stating:




[Ex. F, CCC_51180-81 ]

         Undeterred after being told they didn’t have justification to fire Plaintiff Lynch, Dr. Janosky

and Ms. Panomitros then decided to draft Performance Improvement Plans (“PIPs”) for Plaintiff

Lynch and another Plaintiff whistleblower, Erin Rubio. Yet, on account of the flimsy reasoning, they

never issued these PIPs to Plaintiffs, and Plaintiffs were never even made aware of them during their

employment. Instead, Dr. Janosky and Ms. Panomitros pivoted, within days, to a new plan to get rid

of the whistleblowers – a plan that Roberto Torres himself came up with. Specifically, it was Torres’s

idea to restructure the Department of Student Services as a means to fire all three of the whistleblowers


                                                   3
      Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 4 of 17 PageID #:1002



who reported his misconduct to the OIG. On November 10, 2019 – within weeks of Plaintiffs having

reported him to the OIG – Torres sent Dr. Janosky and Ms. Panomitros an email suggesting that they

combine departments in a manner that would eliminate Plaintiff Lynch’s position as Dean of Student

Services, and in which email he specifically noted that “this plan does not include retention of the

current Associate Deans of Student Services (ADSS)”, i.e., the other two whistleblowers, but noting

“[w]e would need to hire a new ADSS – Student Activities as soon as possible.” [Ex. G,

CCC_0011038-42](emphasis added) 1

           Discovery in this lawsuit has, thus, revealed that Dr. Janosky and Anne Panomitros acted

together to come up with any reason to fire the Plaintiffs in retaliation for, and on the heels of, them

reporting misconduct in the workplace. Yet, Defendant withheld, for nearly 2 years, the Labor

Relations emails that lay bare the brazen pretext that began with a request to fire Plaintiff Lynch under

the guise of poor performance only to be told by Labor Relations that there were no grounds to do

so, and that the suggested termination could appear retaliatory for her whistleblowing.

           Despite the obvious relevance of these Labor Relations emails to Plaintiffs’ claims of

retaliation, Defendant chose not to produce these Labor Relations e-mails: 1) in Defendant’s response

to Plaintiffs’ FOIA requests in 2020 (despite having produced several other emails); 2) in Defendant’s

non-ESI production in 2021 and 2022 (despite having produced several other emails as well as the

attachments – but only the attachments – to the Labor Relations emails); or 3) in Defendant’s rolling

ESI productions, which Defendant falsely certified it completed by March 31.

           When Plaintiffs’ counsel asked Defendant why it belatedly produced these documents mere

days before Ms. Saleh’s scheduled deposition, Defendant explained that it “initially withheld them as

privileged or protected from disclosure but later, upon further review, decided to withdraw the

privilege or protection and produce them to Plaintiffs.” [Ex. H, April 20 E-mail] It is, thus, clear


1   Unlike the Labor Relations emails, this e-mail from Torres was produced prior to the Court’s deadline.

                                                        4
      Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 5 of 17 PageID #:1003



from Defendant’s own words that it knowingly withheld centrally relevant emails under a false claim

of privilege that even Defendant has conceded it could not support. These emails, many of which

have the subject line “Personnel Comsiderations” (sic) 2, were neither sent to, nor received by,

Defendant’s legal counsel or any personnel in its legal department. While Defendant points to one

individual happening to have a law degree, it is undisputed he does not act as counsel, nor does he

work in the legal department. Had Defendant continued to assert a false claim of privilege over these

plainly not privileged emails, Plaintiffs would have continued to have been deprived of the evidence

that is very damning to Defendant’s defense. As the Seventh Circuit has recognized, the attorney

client privilege “is in derogation of the search for the truth and, therefore, must be strictly confined.”

In re Grand Jury Proceedings, 220 F.3d 568, 571 (7th Cir. 2000)(internal citation omitted).

           Because of Defendant’s admitted initial intent to conceal the evidence under a claim of

privilege, Plaintiffs are very troubled by the new 200+ entry privilege log produced by Defendant

claiming privilege over communications discussing “personnel changes,” a subject nearly identical to

the “Personnel Considerations” subject line of the previously withheld Labor Relations emails.

           While Defendant quibbles about Plaintiffs having pointed to 235 entries on the new log when

it was really only 204 new entries (due to continuous numbering from a prior log), what matters is that

Defendant produced this extensive new log 3 weeks after it was ordered to complete written discovery

[Ex. H, April 20 Email; Ex. I Amended Privilege Log], along with 2,000 new pages of discovery,

including the Labor Relations emails. Defendant claims these emails were on its “draft privilege log”

– a log never sent to Plaintiffs – before it belatedly decided to produce the emails. Of course, therein

lies the problem – Defendant again concedes it was very much going to try to hide damning evidence

in this case behind a false claim of privilege.




2   Plaintiffs will refer to the subject line by correcting the typo going forward - as “Personnel Considerations.”

                                                          5
   Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 6 of 17 PageID #:1004



       Defendant’s Position

       Plaintiffs’ Background section belongs in a closing argument; a discussion of the merits of this

case has no place in a discovery motion—especially one that is supposed to be five pages long,

inclusive of both sides’ positions. Defendant City Colleges of Chicago (“CCC”) disputes Plaintiffs’

characterizations of the evidence and their arguments as to the merits, but will not add length by

detailing them here.

       CCC notes that its original ESI Privilege Log produced on April 20, 2023, contained

204 entries, not 235. Numbers 1–22 were skipped to account for the 22 entries in CCC’s non-ESI

Privilege Log produced to Plaintiffs on September 28, 2022, (see D.E. 73-11), and numbers 57–65 were

skipped because CCC decided after further review to withdraw its claims of privilege over those

documents and produce them to Plaintiffs. CCC’s Amended ESI Privilege Log produced to Plaintiffs

on May 19, 2023, contains 202 entries, because CCC deleted two entries after deciding to withdraw its

claims of privilege over those documents and produce them to Plaintiffs in unredacted form based on

discussion in an April 26, 2023, Rule 37.2 meet-and-confer with Plaintiffs. CCC produced five other

documents in redacted form after the same discussion and, thus, amended those entries to describe

only the redacted portions. Although CCC believes the descriptions in its prior privilege log were

adequate, it also provided additional details about many of the entries to address concerns raised by

Plaintiffs in the meet-and-confer.

       CCC further notes that it is not withholding the “Personnel Comsideration” documents

discussed above by Plaintiffs. Those documents were on its draft privilege log when it produced its

ESI documents on March 31, 2023, but CCC ultimately decided to withdraw its assertions of privilege

and produce them, notwithstanding the fact that CCC employee Aaron Allen in the Labor Relations

Office is a licensed Illinois attorney and arguably was giving advice about the potential for a legal




                                                  6
    Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 7 of 17 PageID #:1005



claim. Thus, these documents are not the subject of this motion.

Plaintiffs’ Position: What Plaintiffs Seek to Compel, after Conferring Pursuant to Rule 37.2

        Defendant’s belated Amended Privilege Log log included several entries reflecting

communications that referred to “personnel changes” but that did not identify to whom these

“personnel changes” related to. [Ex. I, p. 7-9, 12] The emails in these entries, Entry Nos. 94-98, 105,

107-110, 113-121, 123, and 183, were all sent during the very same timeframe in which Plaintiffs

were fired (January 2020), at a time when the Board was reviewing the request to fire them (February

11-13, 2020), when Roberto Torres was later fired (February 13, 2020), and when the Board reviewed

his termination (March 12, 2020). Concerned that Defendant was, again, intending to conceal highly

relevant evidence by improperly claiming privilege over documents discussing personnel changes

rather than legal advice, Plaintiffs’ counsel scheduled, and participated in, a meet and confer with

defense counsel on April 26, 2023. Plaintiffs asked Defendant to produce the entries listed above

that discuss “personnel changes,” explaining that personnel decisions are not legal decisions and are,

thus, not privileged. 3 Defendant refused to remove its assertions of privilege over these entries that

discuss “personnel changes” and further claimed it had no obligation to identify who the “personnel

changes” related to, whether the emails discussed Plaintiffs, or whether the legal counsel listed as

recipients were truly recipients or whether they were merely copied on each email. After receiving

the draft of this joint motion, however, Defendant produced a second amended privilege log on May



3 Plaintiffs also raised other concerns about the inadequacy of the log. By way of example, the log at times did
not identify a sender or recipient, it often referred to discussions generically held regarding “FOIA request” or
“EEOC Charge” without specifying if the discussion related to Plaintiffs or not, and certain entries did not
reflect that an attorney or legal personnel was ever on the communication. Plaintiffs asked Defendant to amend
the log with additional detail in order to allow for a meaningful analysis of the merits of the privilege claim.
Defendant agreed to further amend the log on April 26, but did not provide its second amended log until nearly
a month later, on May 19. Plaintiffs have not yet had a meaningful opportunity to review the full 235 entries
on the updated log to determine if the deficiencies were corrected, and reserve the ability to do so and raise any
further issues upon review; however, as Defendant has not withdrawn the claim of privilege over the entries
discussed herein, that Plaintiffs contend are not privileged, the parties have reached impasse as to those entries
and they are ripe for consideration by the Court.

                                                        7
   Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 8 of 17 PageID #:1006



19, 2023, in which it did provide additional information about each entry related to “personnel

changes.” [Ex. J, Second Am. Priv. Log] Based on the additional information, Plaintiffs agreed to

withdraw their motion as to nine entries, Entries 94, 113-115, 117-121. However, as the amendments

made to Entry Nos. 95-98, 105, 107-110, 116, 123, and 183 confirmed that the personnel changes

discussed therein did relate to Plaintiffs primarily, and to Roberto Torres, Plaintiffs informed

Defendant that they maintained their position that these entries were not privileged.

       Because of Defendant’s          demonstrated    history   of withholding      highly   relevant

communications that it admits it was intending to claim privilege over, and given that the law does

not allow an employer to shield from production business decisions, such as personnel decisions,

with a claim of privilege, Plaintiffs request that the Court compel Defendant to produce Entries 95-

98, 105, 107-110, 116, 123, and 183.

       Defendant’s position that Plaintiffs did not meet their obligations under Rule 37.2 is

demonstrably false. The very day Defendant served its log, Plaintiffs identified it was deficient and

asked for a meet and confer. [Ex. H] A meet and confer was held on April 26, during which Plaintiff

requested Defendant produce the entries discussing personnel issues, explaining those were business

decisions to which the privilege did not attach. Plaintiff’s position was reiterated the next day, in

writing, citing legal authority. [Ex. K, April 27 Letter] Defendant confirmed in a second meet and

confer on May 17 that it would not produce the personnel entries and agreed the parties had reached

impasse as to those entries. [Ex. 6] This motion does not seek resolution for the remaining entries

Defendant later amended and Defendant’s attempt to confuse the Court by conflating the entries on

which the parties reached impasse with entries that may remain in dispute is improper.

       It is surprising that Defendant complains of the 6 full days it took to provide Plaintiffs with

its portion of this motion, admitting to repeatedly refusing to cooperate. Plaintiffs only took 2 days

to get Defendant the draft motion (served May 19 after the parties reached impasse May 17). May 25


                                                   8
   Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 9 of 17 PageID #:1007



was the last day Plaintiffs could file this motion and have it heard prior to July (and prior to the

decisionmaker’s deposition set for June 12) because the Court isn’t hearing motions in June and

Defendant’s counsel is unavailable June 1. Defendant’s cooperation in preparing a joint motion was

needed, but withheld. Nevertheless, Plaintiff waited to get Defendant’s portion just hours before the

joint motion needed to be filed, leaving Plaintiffs almost no time for review and reply.

Defendant’s Position:

        Again, CCC declines to respond to Plaintiffs’ arguments regarding the evidence and the merits

of this case other than to note its disagreement with those characterizations. Plaintiffs have failed to

comply with Local Rule 37.2 and the Court’s standing order, as the meet-and-confer process on the

issue they seek a ruling on has not concluded. The parties have engaged to discuss Plaintiffs’ dispute

regarding certain entries in CCC’s ESI Privilege Log. After listening to Plaintiffs’ concerns and re-

reviewing its privilege log and the underlying entries, CCC produced additional documents (some

redacted, some unredacted), amended many entries in its privilege log, and shared the amended log

with Plaintiffs. CCC was transparent during this process that this is what it was doing. In fact, during

the parties meet-and-confer phone call on May 17, defense counsel suggested holding a follow-up

meet-and-confer call after CCC produced its amended privilege log to discuss which issues would

remain in dispute and which would be resolved. Plaintiffs declined.

        While this process was still unfolding, Plaintiffs sent a draft joint discovery motion to CCC on

Friday, May 19, 2023, at 4:16 PM and told CCC to “[p]lease have your positions to us no later than

Tuesday, May 23 at 12 p.m. noon.” (Ex. 1.) The draft motion was nearly twice the five-page limit

allowed by the Court’s standing order, even without any of CCC’s positions inserted. (See Ex. 2.) CCC

sent its Amended ESI Privilege Log to Plaintiffs later that afternoon. (Ex. 3.)

        As expected, the Amended ESI Privilege Log mooted parts of the dispute regarding privilege

log entries. The following Monday, Plaintiffs’ counsel emailed defense counsel stating :“Based on your


                                                   9
  Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 10 of 17 PageID #:1008



changes, we will agree to withdraw our motion as to Entries 94, 113-115, and 117-121. We intend to

send you updated language for the background portion of our motion to account for this change.”(Ex.

4.) The email also stated that “we will continue to move on Entries 95-98, 105, 107-110, 116, 123, and

183 as we do not believe these are privileged, even with your amendments. Since there are no

significant changes to the motion, we still expect to receive your portion by noon tomorrow so that

we can get this before the court as soon as possible.” (Id.) Two hours later, defense counsel received

a revised draft joint motion from Plaintiffs’ counsel. (Ex. 5.)

        Defense counsel told Plaintiffs’ counsel they needed more time than 21 hours to draft

responses to Plaintiffs’ arguments in the nine-page joint motion and stated CCC would send its

responses on Thursday, May 25. (Ex. 6.) Plaintiffs’ counsel’s multiple responses speak volumes.

(Ex. 7; Ex. 8.) Among other things, Plaintiffs’ counsel refused to extend the “deadline” she previously

set and threatened to “file the motion as a Plaintiff's motion and note that we gave you the opportunity

to participate.” (Ex. 7.) The next day, counsel stated: “If you have your portion to us by 6:30 p.m.

today, we can still file it as joint. If you refuse, we will proceed with a Plaintiff's filing only.” (Ex. 8.)

These unilateral demands plainly violate the Court’s reminder in its standing order on discovery

disputes “that compliance with Local Rule 37.2 requires a good faith effort to resolve discovery

disputes.” (emphasis in original.)

        Defense counsel responded later that day, discussing several open issues, including Plaintiffs’

discovery dispute. Counsel attempted to confer regarding one privilege log entry (Entry 116) that

Plaintiffs maintained was still in dispute:

        While defendant continues to claim privilege over this email, we accidentally omitted
        in the description column of the amended log that the email concerned a media inquiry
        “regarding elimination of VP of Institutional Effectiveness position at Daley College”
        (omitted words underlined). Indeed, this type of issue is the very reason we suggested
        on May 17 that an additional meet and confer should occur to the extent our May 19
        amended privilege did not resolve the open disputes. That aside, we represent to you
        that Entry 116 relates to the elimination of the VP of Institutional Education; if you
        prefer, we can provide a corrected log with that revision. Please let us know if this

                                                     10
     Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 11 of 17 PageID #:1009



           offer will remove Entry 116 from your proposed joint discovery motion.

(Ex. 9.) To date, CCC has not received a response from Plaintiffs. Nor has it received copies of the

proposed exhibits Plaintiffs intend to file with this motion.

           Now, Plaintiffs readily admit that they “have not yet had a meaningful opportunity to review

the full 235 [sic] entries on the updated log to determine if the deficiencies were corrected, and reserve

the ability to do so and raise any further issues upon review.” Thus, the meet-and-confer process is

still ongoing and this motion is unripe.

                                                 ARGUMENT

Plaintiff’s Position:

           Defendant has not met its burden to establish the attorney-client privilege over Entries 95-

98, 105, 107-110, 116, 123, or 183, all of which Defendant describes as being related to personnel

changes. While the attorney-client privilege protects the “giving of professional advice” from an

attorney to their client, it does not provide a blanket claim of privilege over all communications

between attorney and client and does not protect communications regarding business decisions, such

as terminating employees. Kodish v. Oak Brook Terrace Fire Protection Dist., 235 F.R.D. 447, 452 (N.D.

Ill. 2006); see also Smith v. Bd. of Educ., 2019 U.S. Dist. LEXIS 102326, at *3 (N.D. Ill. June 19,

2019)(“privilege is limited to situations in which the attorney is acting as a legal advisor,” finding that

decisions regarding termination of employees are business decisions). Furthermore, merely including

legal counsel on an email is insufficient to establish a communication as privileged. See Smith, at *8

(“it cannot be said that the primary purpose of these e-mails was to secure legal advice” where the

“e-mails in question were prepared by non-attorneys and sent to other non-attorneys…with a copy

to [counsel]”) 4; Musa-Muaremi v. Florists’ Transworld Delivery, Inc., 270 F.R.D. 312, 316 (N.D. Ill. 2010).

           Although Defendant specifically asserts that it sought/received “legal advice” in myriad other


4   Here, Defendant refuses to even identify if counsel was the primary recipient or merely copied.

                                                        11
  Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 12 of 17 PageID #:1010



entries on its privilege log, see, e.g., Entries 52-54, there is absolutely no mention of legal advice in

Entries 95-98, 109-110, 123, or 183, which is required to support an assertion of attorney-client

privilege. Deakin v. Old Town Triangle Ass’n, 2021 U.S. Dist. LEXIS 196508, at *2 (N.D. Ill. Feb. 12,

2021)(ordering defendant to produce documents whose privilege log descriptions did not suggest

that legal advice was being shared or discussed). Moreover, even where Defendant does use the

words “legal advice,” see Entries 105, 107-108, 116, its descriptions make clear the alleged advice was

regarding personnel decisions, which are, importantly, business decisions that are not privileged.

        “Decisions concerning the discipline and termination of employees are business decisions

and any legal advice sought or received is incidental to considerations of what is most prudent for

the successful operation of the business.” Smith, 2019 U.S. Dist. LEXIS 102326, at *5-6 (omitting

citations). In Kodish, for example, the court held that discussions regarding plaintiff’s work history,

the reasons for moving to terminate him, and any “discussion of what is desirable from an employee”

were all examples of discoverable information.235 F.R.D. at 453. Similarly, the documents reviewed

in Smith, which concerned “the process by which the plaintiff was placed on a performance

improvement plan (“PIP”) and ultimately terminated…[did] not fit within the definition of privileged

legal advice.” 2019 U.S. Dist. LEXIS 102326, at *6.

        Accordingly, where Defendant has shown itself willing to use claims of privilege to conceal

and withhold highly relevant communications for years, as it did with the Labor Relations emails,

and where the privilege log reveals that Defendant is continuing to withhold further communications

regarding “personnel” decisions that are not privileged, Plaintiffs respectfully request that the Court

compel Defendant to produce those emails found in Entries 95-98, 105, 107-110, 116, 123, and 183,

as Defendant has failed to meet its burden of establishing attorney-client privilege.

        Defendant does not dispute that the entries at issue involve personnel decisions and does

not dispute that the vast majority of the communications were not drafted by attorneys or that the


                                                   12
  Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 13 of 17 PageID #:1011



entries do not reflect that legal advice was being given or sought. Rather, Defendant often relies on

claims of work product privilege as a means to shield the communications from production. A careful

review, however, reveals that the work product doctrine would not apply. For example, Entry Nos.

95 and 96, both drafted by non-lawyers and relating to the “restructuring of Student Services

Department” were drafted prior to when Plaintiffs obtained counsel or asserted any legal claims. As

such, there was no anticipation of litigation at the time. Defendant has claimed, as its core defense,

that the restructuring was a non-retaliatory, legitimate business decision. Thus, no work product

attaches to a claimed legitimate business decision. Similarly, Entry Nos. 109 and 110 relate to the

personnel decision made to fire Roberto Torres; yet, he has never asserted or filed claims. There is

no work product to protect.

        Because Defendant, as discussed above, did not provide Plaintiffs with more than a few hours

to review its portion and include any arguments in reply, Plaintiffs are unable to reply to the specific

arguments made as to the entries individually, and would respectfully request that the Court hear

argument on each at hearing, but nevertheless maintain that all of the entries discuss personnel

changes and, for reasons discussed above, are not privileged. Defendant’s authority is not persuasive

as it largely relies on non-employment cases. Moreover, its reliance on an out-of-context quote from

the Wilstein court does not warrant support for its position where the Wilstein court continued from

Defendant’s purported position by stating, “[w]hen the ultimate corporate decision is based on both

a business policy and a legal evaluation, the business aspects of the decision are not protected [merely]

because legal consideration are also involved’.” Wilstein v. San Tropai Condo. Master Ass’n, 189 F.R.D.

371, 379 (N.D. Ill. 1999). Thus, Wilstein supports Plaintiffs’ position.

        Alternatively, should the Court require more information to assess the applicability – or lack

thereof – of the privilege, Defendant should be required to produce the materials for in camera

inspection. In re Grand Jury Proceedings, 220 F.3d 568, 571 (7th Cir. 2000). Upon in camera review, the


                                                   13
  Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 14 of 17 PageID #:1012



Court will be best suited to determine what portion, if any, of the communications is privileged.

        Defendant’s Position

        Plaintiffs challenge CCC’s assertions of attorney-client privilege, attorney work-product

protection, or both, over Entries 95–98, 105, 107–110, 116, 123, and 183 of its Amended ESI

Privilege Log. Despite having never seen these documents, Plaintiffs nevertheless confidently assert

that they are not in fact privileged because they contain lawyers’ business advice, not legal advice—

directly contradicting CCC’s descriptions of the documents authored by individuals who have seen

them. Attorneys “have their own professional responsibilities and duties to properly invoke the

privilege, with a basis in fact and law, and not always be second-guessed by the courts [or opposing

counsel] when a proper and detailed privilege log has been produced.” Billy Goat IP LLC v. Billy Goat

Chip Co. LLC, No. 17-CV-9154, 2019 WL 10250940, at *4 (N.D. Ill. Feb. 1, 2019). CCC produced a

proper, detailed privilege log that fully complies with Rule 26(b)(5). Plaintiffs’ arguments have no

basis in fact or law.

        Entries 95, 96, 109, and 110 are communications from CCC employees sending documents

to CCC attorneys and requesting attorney review of them. Plaintiffs cite no authority to support their

apparent position that a privilege log entry is per se insufficient under Rule 26(b)(5) simply because it

does not contain the phrase “legal advice.” The descriptions for both entries make clear that the

employees sent documents to the attorneys for their review, comment, and legal advice in

anticipation of litigation. Relatedly, documents sent to counsel as “part of a confidential information

gathering process, with the client selecting and sending documents to its counsel to assist counsel in

understanding and responding to inquiries from the state or the SEC or investors, . . . [a]re

confidential and privileged communications.” U.S. Sec. & Exch. Comm’n v. Hollnagel, 07 CV 4538,

2010 WL 11586980, at *10 n.13 (N.D. Ill. Jan. 22, 2010). So, too, here.

        Entries 97 and 98 concern a CCC attorney’s request for information and a CCC employee’s


                                                   14
  Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 15 of 17 PageID #:1013



response providing attorney-requested information. Documents like these that “reflect requests for

information from attorneys to the client for the purpose of providing legal advice” are protected by

the attorney-client privilege. In re Application for an Order for Judicial Assistance in a Foreign Proceeding in

the Labor Court of Brazil, 244 F.R.D. 434, 441 (N.D. Ill. 2007). Additionally, “the documents were

prepared upon the request of the attorneys in preparation for litigation, as evidenced by the electronic

communications, and thus meet the elements of the [work-product] doctrine.” Id. As Plaintiffs

repeatedly point out, CCC employee Aaron Allen had already raised the possibility of litigation arising

from the termination of Plaintiffs’ employments. Thus, these documents were created in anticipation

of litigation. See also Charvat v. Valente, 12 CV 5746, 2015 WL 4037776, at *3 (N.D. Ill. July 1, 2015)

(holding work-product doctrine protects from disclosure documents prepared “in response to . . .

counsel’s request for information”).

        Entry 105 is a communication authored by CCC’s General Counsel providing legal advice to

its Board of Trustees. Plaintiffs have absolutely no basis for challenging this assertion of attorney-

client privilege.

        Entries 107 and 108 are communications relaying legal advice from CCC’s General Counsel

to the members of the Board of Trustees. A “privileged communication does not lose its status as

such when an executive relays legal advice to another who shares responsibility for the subject matter

underlying the consultation. Management personnel should be able to discuss the legal advice

rendered to them as agents of the corporation.” Wilstein v. San Tropai Condo. Master Ass’n, 189 F.R.D.

371, 379 (N.D. Ill. 1999) (citation omitted). Similarly, “conversations among the board members

discussing their attorney’s legal advice about potential litigation risk and legal strategy are privileged

under the attorney-client privilege.” Id. at 379–80. That is exactly what happened here. These entries

thus fall well within the privilege and are protected from disclosure.

        Plaintiffs never responded to CCC’s May 23, 2023, email clarifying the description of


                                                       15
  Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 16 of 17 PageID #:1014



Entry 116. (See Ex. 9.) Thus, it is unclear whether Plaintiffs continue to challenge CCC’s claim of

privilege over this document. If they do, it is protected by the attorney-client privilege because it is

an attorney-authored document providing legal advice to CCC employees. The privilege log makes

this abundantly clear.

          Entries 123 and 183, like Entry 98 discussed above, are documents sent to CCC’s attorneys

by a CCC employee and prepared “in response to . . . counsel’s request for information” in

anticipation of litigation. Charvat, 2015 WL 4037776, at *3. They are thus protected by the attorney

work-product doctrine. Beyond that, Entry 123 establishes that it also contains legal advice authored

by CCC’s attorney, making it protected by the attorney-client privilege as well. That both entries

contain the phrase “personnel changes” does not transform an attorney’s legal advice into business

advice, nor does it vitiate the work-product protection. Plaintiffs’ motion to compel should be

denied.

               Request for Ruling on Documents Subject to Prior Privilege Dispute

Plaintiffs’ Position

          In the parties’ Second Joint Motion to Resolve Discovery Disputes, filed on January 26, 2023,

Plaintiffs asked the Court to compel Defendant to produce Entries 11, 12, and 19 of its initial

privilege log, which consists of two emails and one audio recording of a meeting of Defendant’s

Board of Trustees. [Docket No. 73, p. 21] The Court ordered Defendant to submit those entries for

an in camera review, [Docket No. 79, p. 21], which Defendant did on February 14, 2023. The Court

has not yet ruled on these three entries. As the parties have already commenced oral discovery, and

with decisionmaker Janine Janosky’s deposition currently scheduled for June 12, 2022, Plaintiffs

respectfully ask that the Court rule on Entries 11, 12, and 19 as soon as possible and in advance of

June 12, 2023 in order to allow for a full review all relevant materials in advance of the upcoming

depositions.


                                                   16
  Case: 1:21-cv-00366 Document #: 83 Filed: 05/25/23 Page 17 of 17 PageID #:1015



       Defendant’s Position

       CCC takes no position on this request by Plaintiffs.




Respectfully submitted,

    /s/M. Megan O’Malley_____
    Attorneys for Plaintiffs
    M. Megan O’Malley
    John P. Madden
    Alexandra L. Raynor
    O’Malley & Madden, P.C.
    542 So. Dearborn St. Suite 660
    Chicago Illinois 60605
    312.697.1382
    momalley@ompc-law.com




                                                17
